                Case 3:09-cr-00570-MMC Document 22 Filed 10/19/10 Page 1 of 2



 1   BARRY J. PORTMAN
     Federal Public Defender
 2
     STEVEN G. KALAR
 3   Assistant Federal Public Defender
     450 Golden Gate Avenue
 4   San Francisco, CA 94102
 5   Telephone: (415) 436-7700
 6   Counsel for Defendant Garcia
 7
 8
 9
10                           IN THE UNITED STATES DISTRICT COURT
11
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
13
      UNITED STATES OF AMERICA,                            )   No. CR 09-0570 MMC
14                                                         )
15              Plaintiff,                                 )   PROPOSED STIPULATED
                                                           )   ORDER VACATING STATUS
16         v.                                              )   DATE AND SETTING
17                                                         )   SENTENCING DATE
      CARMEN GARCIA,                                       )
18                                                         )   Present Hearing Date: Wed.
19              Defendant.                                 )   October 27, 2010 at 2:30 p.m.
                                                           )
20                                                             Sentencing Hearing Date:
21                                                             Wed. January 12, 2011 at
                                                               2:30 p.m.
22
23
           The defendant in the above-entitled action, Carmen Garcia, has entered a guilty
24
     plea to federal charges. Her sentencing hearing has been continued several times at the
25
     request of counsel, and she is currently scheduled to appear before the Court on
26
     Wednesday, October 27, 2010 at 2:30 p.m. for status regarding her sentencing.
27
           In this stipulated order the parties jointly request that the status appearance now
28


     Garcia, CR 09-0570 MMC
     PROPOSED STIP. ORD.
     SETTING SENT. HEARING
             Case 3:09-cr-00570-MMC Document 22 Filed 10/19/10 Page 2 of 2



 1   scheduled for October 27th be vacated. The parties further request that the matter be
 2   referred to the Office of Probation for completion of a presentence report. Finally, the
 3   parties jointly ask that the matter be added to the Court’s calendar on Wednesday,
 4   January 12, 2011 at 2:30 p.m. for sentencing.
 5          The Court adopts the recommendations of the defense and the government. The
 6   status appearance now set for October 27, 2010 is vacated. The matter is referred to
 7   Probation for a presentence report, and set for sentencing on January 12, 2011 at 2:30
 8   p.m.
 9          IT IS SO ORDERED.
10
11   Dated: _______________
            October 19, 2010            _________________________
                                        MAXINE M. CHESNEY
12
                                        United States District Judge
13
            IT IS SO STIPULATED.
14
15
     October 18, 2010                   MELINDA HAAG
16                                      United States Attorney
17                                      Northern District of California

18                                      /s
19
                                        JEFFREY R. FINIGAN
20                                      Assistant United States Attorney
21                                      Northern District of California

22
23
     October 18, 2010                   BARRY J. PORTMAN
24                                      Federal Public Defender
                                        Northern District of California
25
26                                      /s
27                                      STEVEN G. KALAR
28                                      Assistant Federal Public Defender


     Garcia, CR 09-0570 MMC
     PROPOSED STIP. ORD.
     SETTING SENT. HEARING                        2
